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 8                         UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                  CASE NO.: 20-CR-01603-JLS
12                      Plaintiff,
13         v.
                                                Order Continuing Motion
14   ARLEEN NATALIE RAMIREZ,                    Hearing/Trial Setting
15                       Defendant.
16
17         The parties’ joint motion to continue sentencing from October 23, 2020 to
18   November 20, 2020 at 1:30 p.m. is granted, on the grounds stated therein. The Court
19   finds the delay attributable to the continuance to be excludable pursuant to 18
20   U.S.C. § 3161(h)(1)(D) and in the interest of justice for the reasons set forth in the
21   Order of the Chief Judge No. 18 and subsequent related orders.
22         IT IS SO ORDERED.
23   Dated: October 21, 2020
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